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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  IN RE: VideoMining Corporation,       :                  Bankr. No.: 20-20425-GLT
                                        :
           Debtor.                      :                  Chapter 11
  _____________________________________ :
                                        :                  Document No.:
  Atul Jain,                            :
                                        :                  Related Document No.:
         Movant,                        :
                                        :
         v.                             :
                                        :
  No Respondent,                        :
                                        :
         Respondent.                    :


                        MOTION TO ALLOW LATE PROOF OF CLAIM

         AND NOW comes the Movant, Atul Jain (“Movant”), by and through his undersigned

 Counsel, and files the following Motion to Allow Late Proof of Claim, and in support thereof,

 Movant respectfully states as follows:


    I.        Factual and Procedural Background to the Proof of Claim

         1.      Debtor, VideoMining Corporation (hereafter “Debtor”), filed the within Chapter

 11 on February 4, 2020.

         2.      Debtor filed a Schedule F listing Movant’s claim as a $750,000.00 unliquidated,

 not disputed, claim.

         3.      By notice dated March 13, 2020, the deadline for the filing of a proof of claim

 was set for July 21, 2020.

         4.      As set forth in the Proof of Claim attached hereto as Exhibit A, Movant seeks

 payment for pre-petition money loaned, plus interest, in the amount of $808,027.09.
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        5.     Debtor, through counsel, has consented to the filing of an untimely proof of claim.

        WHEREFORE, Movant respectfully moves this Honorable Court to allow it to file a Proof

 of Claim, nunc pro tunc.

                                                    Respectfully submitted,

                                                    THOMPSON LAW GROUP, P.C.

 Date: February 24, 2021                     By:    /s/ Brian C. Thompson
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